Case 2:04-cr-20137-.]DB Document 59 Filed 06/13/05 Page 1 of 2 Page|D 62

IN THE UNITED sTATES DISTRICT CoURT F"“ED §§ S/m'
FOR THE WESTERN DISTRICT oF TENNESSEQ; JUH f3 m H= 32
WESTERN DIVISION
ROBERT é*~f. f`;‘:` TF§O.LIO

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W.r>_ oF 'n-:, riggs

UNITED STATES OF AMERICA, )
)
Plaintiff )
) Criminal No.04-20137-B
vs. )
)
GILBERT CROCK_ETT, )
)
Defendant. )
ORDER

Upon motion of the United States, IT IS HEREBY ORDERED that the indictment in the
instant case is dismissed Without prejudice

IT IS SO ORDERED.

€\ ""”‘
Dated this l g day of \-JW"- , 2005.

 

 

J.' NIEL BREEN `

Un' ed States District Judge

§W_/%M

Assistant United States Attome§/

 
  

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Honorable J. Breen
US DISTRICT COURT

